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 NAME


 PRISON IDENTIFICATION/BOOKING NO.


 ADDRESS OR PLACE OF CONFINEMENT



 Note:     If represented by an attorney, provide name, address & telephone
           number. It is your responsibility to notify the Clerk of Court in
           writing of any change of address.

                                                 UNITED STATES DISTRICT COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
                                                                                 CASE NUMBER:

                                                                                  CV
 FULL NAME (Include name under which you were convicted)                                To be supplied by the Clerk of the United States District Court

                                                                   Petitioner,
                                                                                  CR
                                                                                        Criminal case under which sentence was imposed.


                                       v.

                                                                                 PETITION FOR WRIT OF HABEAS CORPUS BY
                                                                                      A PERSON IN FEDERAL CUSTODY
 NAME OF WARDEN, (or other authorized person having custody of                                (28 U.S.C § 2241)
 petitioner)
                                                                 Respondent.


                                                    INSTRUCTIONS - READ CAREFULLY

This petition shall be legibly handwritten or typewrittenDQG signed by WKHSHWLWLRQHUXQGHUSHQDOW\of perjury. You must set
forthCONCISELY the answer to each question in the proper space on the form. Any false statement of DPDWHULDOfact
may serveas the basis for prosecution and conviction for perjury.

You must not attach separate pages to this petition except that ONE separate additional page is permitted in answering
Question No.9.

Upon receipt of a fee of $5.00 your petition will be filed if it is in proper order.

If you are seeking leave to proceed in forma pauperis (without paying the $5.00 filing fee and other court costs), then you
must also execute the declaration on the last page, setting forth information WKDW establishes your inability to pay the fees
and costs of the proceedings or to give security therefor. If you wish to proceed LQ IRUPD SDXSHULV, you must have
anauthorized officer at the penal institution complete the certificate as to the amount of money and securities on deposit to
yourcredit in any account in the institution. If your prison account exceeds $25.00, you must pay the filing fee as required
by therule of the district court.

When the petition is completed, the original and 3 copies must be mailed to the Clerk of the United States District Court
for the Central District of California, (GZDUG 5 5R\EDO )HGHUDO %XLOGLQJ  86 Courthouse,  (DVW 7HPSOH
Street, 6XLWH 76 Los Angeles, California 90012, ATTENTION: Intake/Docket Section.

Only one sentence, conviction or parole matter may be challenged in a single petition. If you challenge more than one, you
must do so by separate petitions.

CV-27 (0/)          PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN FEDERAL CUSTODY (28 U.S.C § 2241)                                         Page 1 of 7
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PLEASE COMPLETE THE FOLLOWING: (Check appropriate number)

    This petition concerns:
    1. G a conviction.
    2. G a sentence.
    3. G jail or prison conditions.
    4. G prison discipline.
    5. G a parole problem.
    6. G other.

                                                          PETITION

 Place of detention
 Name and location of court WKDW imposed sentence



3. The indictment number or numbers (if known) upon which, and the offense or offenses for which, sentence was
   imposed:
   a.
    b.
    c.

4. The date upon which sentence was imposed and the terms of the sentence:
    a.
    b.
    c.

5. Check whether a finding of guilty was made:
   a. G After a plea of guilty
   b. G After a plea of not guilty
   c. G After a plea of nolo contendere

6. If you were found guilty after a plea of not guilty, check whether that finding was made by:
   a. G a jury
   b. G a judge without a jury

7. Did you appeal from the judgment of conviction or the imposition of sentence? G Yes            G No

8. If you did appeal, give the following information for each appeal:

    CAUTION: If you are attacking a sentence imposed under a federal judgment, you must first file a direct appeal or
             motion under 28 U.S.C. § 2255 in the federal court that entered the judgment.

    a. (1) Name of court
          (2) Result
          (3) Date of result
          (4) Citation or number of opinion


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          (5) Grounds raised (list each):
               (a)
               (b)
               (c)
               (d)

    b. (1) Name of court
          (2) Result
          (3) Date of result
          (4) Citation or number of opinion
          (5) Grounds raised (list each):
               (a)
               (b)
               (c)
               (d)


9. State CONCISELY every ground on which you claim that you are being held unlawfully. Summarize briefly the
   facts supporting each ground. If necessary, attach a SINGLE page only behind this page.

    CAUTION: If you fail to set forth all grounds in this petition, you may be barred from presenting additional
             grounds at a later date. You must state facts, not conclusions, in support of your grounds. A rule of
             thumb to follow: state WHO did exactly WHAT to violate your rights at WHAT time and place.

    a.    Ground one:


          Supporting FACTS (tell your story BRIEFLY without citing cases or law):




    b. Ground two:


          Supporting FACTS (tell your story BRIEFLY without citing cases or law):




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    c. Ground three:


         Supporting FACTS (tell your story BRIEFLY without citing cases or law):




    d. Ground four:


         Supporting FACTS (tell your story BRIEFLY without citing cases or law):




 Have you filed previous petitions for habeas corpus, motions under Section 2255 of Title 28, United States Code, or
    any other applications, petitions or motions with respect to this conviction? G Yes G No

 If your answer to Question No. 10 was yes, give the following information:
    D (1) Name of Court
           Nature of proceeding
           Grounds raised




         (4) Result
         (5) Date of result
         (6) Citation or number of any written opinions or orders entered pursuant to each disposition.




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    b. (1) Name of Court
         (2) Nature of proceeding
         (3) Grounds raised




         (4) Result
         (5) Date of result
         (6) Citation or number of any written opinions or orders entered pursuant to each disposition.




12. If you did not file a motion under Section 2255 of Title 28, United States Code, or if you filed such a motion and it
    was denied, state why your remedy by way of such motion is inadequate or ineffective to test the legality of your
    detention:




13. Are you presently represented by counsel? G Yes G No
    If so, provide name, address and telephone number


    Case name and court




14. If you are seeking leave to proceed LQIRUPDSDXSHULV, have you completed the declaration setting forth the required
    information?     G Yes G No

    WHEREFORE, petitioner prays that the court grant petitioner relief to which he may be entitled in this proceeding,



                                                                                  Signature of Attorney (if any)

    I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct.


    Executed on
                              Date                                                    Signature of Petitioner


&9        PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN FEDERAL CUSTODY (28 U.S.C § 2241)             Page 5 of 7
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                                                                              DECLARATION IN SUPPORT
                            Petitioner                                               OF REQUEST
                                                                                     TO PROCEED
                                                                                 ,1)250$3$83(5,6
                          Respondent(s)



     I,                                                          , declare that I am the petitioner in the above entitled
case; that in support of my motion to proceed without being required to prepay fees, costs or give security therefor, I state
that because of my poverty I am unable to pay the costs of said proceeding or to give security therefor; that I believe I am
entitled to relief.

1. Are you presently employed? G Yes          G No

    a. If the answer is yes, state the amount of your salary or wages per month, and give the name and address of your
         employer.


    b. If the answer is no, state the date of last employment and the amount of the salary and wages per month which
         you received.


2. Have you received, within the past twelve months, any money from any of the following sources?
    a. Business, profession or form of self-employment?               G Yes    G No
    b. Rent payments, interest or dividends?                          G Yes    G No
    c. Pensions, annuities or life insurance payments?                G Yes    G No
    d. Gifts or inheritances?                                         G Yes    G No
    e. Any other sources?                                             G Yes    G No

    If the answer to any of the above is yes, describe each source of money and state the amount received from each
    during the past twelve months:



3. Do you own any cash, or do you have money in a checking or savings account? (Include any funds in prison
   accounts) G Yes G No

    If the answer is yes, state the total value of the items owned:



4. Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property? (Excluding ordinary
   household furnishings and clothing) G Yes G No

    If the answer is yes, describe the property and state its approximate value:




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5. List the persons who are dependent upon you for support, state your relationship to those persons, and indicate how
    much you contribute toward their support:




    I declare (or certify, verify or state) under penalty of perjury that the foregoing is true and correct.




    Executed on
                               Date                                                   Signature of Petitioner




                                                      CERTIFICATE


    I hereby certify that the Petitioner herein has the sum of $                                         on account to his credit
at the                                                                                                           institution where
he is confined. I further certify that Petitioner likewise has the following securities to his credit according to the records of
said institution:




                    Date                                                     Authorized Officer of Institution




                                                                                      Title of Officer




&9           PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN FEDERAL CUSTODY (28 U.S.C § 2241)               Page 7 of 7
